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                                        UNITED STATES DISTRICT COURT

                                        MIDDLE DISTRICT OF LOUISIANA

      BOBBY SNEED (#81275)                                                                        CIVIL ACTION

      VERSUS
                                                                                                  21-279-JWD-RLB
      FRANCIS ABBOTT, ET AL.

                                         ORDER REGARDING MOTION TO
                                          PROCEED IN FORMA PAUPERIS

               Considering the plaintiff’s Motion for Leave to Proceed In Forma Pauperis filed in the

      above-captioned proceeding (R. Doc. 3),

               IT IS ORDERED that the plaintiff’s Motion (R. Doc. 3) be and is hereby GRANTED

      for the purpose of service of process by the United States Marshal’s Office, as provided in Rule

      4(c)(3) of the Federal Rules of Civil Procedure.

               IT IS FURTHER ORDERED that the plaintiff’s Motion (R. Doc. 3) be and is hereby

      GRANTED for the purpose of the filing fee. However, in accordance with 28 U.S.C. § 1915(b),

      all prisoners granted in forma pauperis status are assessed and are required to pay the full

      amount of the Court’s filing fee ($350.00)1. The plaintiff is required to pay an initial partial filing

      fee and, thereafter, prison officials are required to forward monthly payments from the plaintiff’s

      inmate account(s) until the entire filing fee is paid.

               IT IS FURTHER ORDERED that, within twenty-one (21) days of the date of this

      Order, the plaintiff shall make an initial partial filing fee in the amount of $2.50 to the Clerk of

      this Court or this action shall be dismissed. It is the plaintiff’s responsibility to pay the initial




      1
       Although there is an additional $52.00 administrative fee associated with the filing of civil actions in the federal
      courts, this fee is not assessed where pauper status is granted under 28 U.S.C. § 1915.




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partial filing fee. The prison will NOT forward payment of the initial partial filing fee without

the plaintiff’s written authorization.

        IT IS FURTHER ORDERED that, following the payment of the initial partial filing

fee, the plaintiff shall make monthly payments of twenty (20) percent of the preceding month’s

income credited to his inmate account(s) until he has paid the total filing fee of $350.00. The

monthly amount shall automatically be collected from the plaintiff’s account(s) and forwarded to

the Court without further action by the plaintiff.

        IT IS FURTHER ORDERED that, following the payment of the initial partial filing

fee, the agency having custody of the plaintiff shall collect the monthly amount from the

plaintiff’s inmate account(s) and shall forward same to the Clerk of Court for the Middle District

of Louisiana each time that the amount collected exceeds $10.00, until the $350.00 filing fee is

paid.

        IT IS FURTHER ORDERED that the Clerk of Court shall mail, or deliver by electronic

means, a copy of this Order to the plaintiff, and to the Centralized Inmate Banking Section for

the Louisiana Department of Public Safety and Corrections.

        Signed in Baton Rouge, Louisiana, on May 26, 2021.



                                              S
                                              RICHARD L. BOURGEOIS, JR.
                                              UNITED STATES MAGISTRATE JUDGE
